
954 So.2d 1281 (2007)
B.W.H., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D04-1974.
District Court of Appeal of Florida, Fifth District.
May 4, 2007.
*1282 James S. Purdy, Public Defender, and Thomas J. Lukashow, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.

ON REMAND FROM THE SUPREME COURT OF FLORIDA
PALMER, J.
The Supreme Court quashed our earlier decision reported at B.W.H, v. State, 904 So.2d 659 (Fla. 5th DCA 2005), and remanded the matter to our court for reconsideration under V.K.E. v. State, 934 So.2d 1276 (Fla.2006). See B.W.H. v. State, 950 So.2d 403 (Fla.2007). Based upon the Supreme Court's holding in V.K.E., we conclude that the trial court erred in ordering B.W.H. to pay costs as set forth in sections 938.08 and 938.085 of the Florida Statutes (2005). As such, we strike those portions of the disposition orders that impose costs of $201.00 and $151.00 pursuant to sections 938.08 and 938.085 of the Florida Statutes (2005). In all other respects, the disposition orders are affirmed.
AFFIRMED. COSTS STRICKEN.
GRIFFIN and EVANDER, JJ., concur.
